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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA           :    22-mj-06056-DEA

              vs.                  :    ORDER APPOINTING FEDERAL
                                             PUBLIC DEFENDER
DYWANN PUGH                        :




      The financial inability of the defendant to retain counsel

having been established by the court, and the defendant not

having waived the appointment of counsel, and for good cause

shown;   it is on this 22nd day of November, 2022,

      ORDERED that the Federal Public Defender Organization

for the District of New Jersey is hereby appointed to represent

said defendant in this cause, for the purposes of today’s hearing,

until further order of this court.




                                        DOUGLAS E. ARPERT
                                        United States Magistrate Judge


cc:   Federal Public Defender
